931 F.2d 55Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Ronald Glenn REICHNER, Plaintiff-Appellant,v.ROANOKE COUNTY SHERIFF'S DEPARTMENT, Mike Kavanaugh,Sheriff, Captain Huff, Kathy Wright, Barry Tayloe,Lieutenant, Defendants-Appellees.
    No. 91-6290.
    United States Court of Appeals, Fourth Circuit.
    Submitted April 8, 1991.Decided April 26, 1991.
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  Jackson L. Kiser, District Judge.  (CA-90-432-R)
      Ronald Glenn Reichner, appellant pro se.
      Elizabeth Kay Dillon, Woods, Rogers &amp; Hazlegrove, Roanoke, Va., for appellees.
      W.D.Va.
      AFFIRMED.
      Before MURNAGHAN, SPROUSE and NIEMEYER, Circuit Judges.
      PER CURIAM:
    
    
      1
      Ronald Glenn Reichner appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Reichner v. Roanoke County Sheriff's Dep't, CA-90-432-R (W.D.Va. Jan. 16, 1991).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    